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                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORN A                    OCT - 42013


UNITED STATES OF AMERICA,                   CASE NO.

                        Plaintiff,
                vs.                         JUDGMENT OF DISMISSAL
ANGEL VARGAS-GONZALEZ, JR. (1)
Charged as Angel Gonzalez,JR.

                        Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal,
     without prejudice; or

      the Court has granted the motion of the defendant for a judgment of
      acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

~     of the offense(s) as charged in the Indictment:

      21 USC 846,841 (a) (1)



           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: October 4, 2013
                                             Gonzalo P. Curiel
                                             U.S. District Judge
